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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

IN RE:                              )
                                    )
VALLEY GREEN LANDSCAPING, INC. )                               Case No. 18-11216-BFK
                                    )                          Chapter 11
            Debtor-In-Possession    )
____________________________________)

               FIRST APPLICATION FOR COMPENSATION OF COUNSEL

         COMES NOW, Ashvin Pandurangi, Esq, (“Applicant”), Pursuant to 11 U.S.C. §§330 and

331, Fed R. Bankr. P. 2016(a) and Local Rule 2016-1(A), Applicant respectfully represents the

following to the Court.

                        EMPLOYMENT AS COUNSEL FOR DEBTOR

         1. Applicant was retained by Valley Green Landscaping, Inc. (“Debtor”) on or about

April 4, 2018 as counsel in its Chapter 11 case. The Court entered an Order authorizing the

employment of Applicant on July 17, 2018 (Docket #59).

                                            RETAINER

         2. Applicant is holding the sum of $7,500.00 as a retainer in this case.

                                          CASE STATUS

         3. On April 6, 2018, Debtor filed the instant case under Chapter 11 of the Bankruptcy

Code in the United States Bankruptcy Court for the Eastern District of Virginia, Alexandria

Division, Case No. 18-11216-BFK.

         4. Debtor continued to operate its business and manage its financial affairs as debtor in

possession and timely file monthly operating reports with this Court.
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       5. Applicant has been in communications with Debtor’s largest creditor Remax, a

judgment creditor, in attempts to settle its claim.

       6. Applicant has drafted a disclosure statement and Chapter 11 plan of reorganization

which is expected to be filed before the end of January 2019.

           SUMMARY OF SERVICES RENDERED AND HOURS EXPENDED

       7. Applicant is experienced in bankruptcy matters. Pursuant to the retainer agreement, the

Applicant was to be compensated at the rate of $250.00 per hour for his services.

       8. Applicant respectfully submits that the rate of $250.00 per hour is a fair and generally

accepted rate of compensation for services of the type rendered herein by Applicant.

       9. Applicant has billed the debtor among two (2) general service categories.

               Category 1: Case Administration: 40.9 hours (​$10,222.50​​)

               Category 2: Expenses: ​$1,813.52

       10. The dates, descriptions and hours of service are more fully set forth in the Customer

Invoice attached as Exhibit “A”.

       11. Applicant has no agreement to share any compensation which may be awarded by

this Court. All services provided herein were performed by Applicant for and on behalf of the

Debtor and not for or on behalf of any other person or entity.

       WHEREFORE, the Applicant prays that the Court enter an Order (i) authorizing and

awarding counsel fees to Ashvin Pandurangi, Esq. for services rendered and expenses paid for

the period April 4, 2018 through December 12, 2018 in the amount of $12,036.00, or in such

other amount as to this Court may appear just, and authorize Applicant to withdraw the

$7,500.00 retainer balance in his trust account and apply it to the award.
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                                            Respectfully Submitted,

                                            AP LAW GROUP, PLC

                                            /s/ Ashvin Pandurangi____________

                                           Ashvin Pandurangi, Esq., VSB# 86966
                                           AP Law Group, PLC
                                           7777 Leesburg Pike, 402N
                                           Falls Church, VA 22043
                                           Tel: (571) 969-6540
                                           Fax: (571) 699-0518
                                           ap@aplawg.com
                                           Counsel for Debtor
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of December, 2018 a true copy of the foregoing

Application for Compensation was served electronically pursuant to this Court’s CM/ECF

procedures on: Jack I. Frankel, Esquire, Office of the U.S. Trustee, 115 South Union Street, Ste.

210, Alexandria, VA 22314; and sent first class mail, postage prepaid, to the attached list of

creditors.
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                         Alban Tractor Co. Inc.
                         Attn: Bankruptcy
                         PO Box 64251
                         Baltimore, MD 21264-7000


                         American Express
                         Attn: Bankruptcy
                         PO Box 981535
                         El Paso, TX 79998


                         CAT Financial
                         Attn: Bankruptcy
                         PO Box 330339
                         Nashville, TN 37203


                         Central Sod Farm
                         Attn: Bankruptcy
                         920 John Brown Rd.
                         NY 12617


                         Cheryl Sheppard
                         5833 Lewis Lane
                         Falls Church, VA 22041


                         Citibank
                         Attn: Bankruptcy
                         PO Box 6704
                         Sioux Falls, SD 57104


                         Citibank/Costco
                         Attn: Bankruptcy
                         PO Box 790046
                         Saint Louis, MO 63179


                         Commercial Account
                         Attn: Bankruptcy
                         PO Box 330339
                         Nashville, TN 37203


                         Exxon Mobil
                         Attn: Bankruptcy
                         PO Box 6404
                         Sioux Falls, SD 57117
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                     Financial Services
                     Attn: Bankruptcy
                     PO Box 340001
                     Nashville, TN 37203


                     Ford Credit
                     Attn: Bankruptcy
                     PO Box 542000
                     Omaha, NE 68154


                     Gelber & Associates, PLLC
                     201 Park Washington Court
                     1st Floor
                     Falls Church, VA 22046


                     Home Depot Credit Services
                     Attn: Bankruptcy
                     PO Box 790345
                     Saint Louis, MO 63179


                     IRS
                     Attn: Bankruptcy
                     P.O. Box 931200
                     Kansas City, MO 64999


                     Landscape Supply
                     Attn: Bankruptcy
                     PO Box 12706
                     Roanoke, VA 24027


                     Martin & Gass
                     Attn: Bankruptcy
                     6433 General Green Way
                     Alexandria, VA 22312


                     Office Depot
                     Attn: Bankruptcy
                     PO Box 790449
                     Saint Louis, MO 63179


                     PNC Bank
                     Attn: Bankruptcy
                     2730 Liberty Ave.
                     Pittsburgh, PA 15222
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                     Remax Allegiance
                     c/o Gelber & Associates
                     201 Park Washington Court, F1
                     Falls Church, VA 22046


                     Sanijohn Services Inc.
                     Attn: Bankruptcy
                     PO Box 1386
                     Beltsville, MD 20704


                     Shell Fleet
                     Attn: Bankruptcy
                     PO Box 6406
                     Sioux Falls, SD 57117


                     Small Business Adminstration
                     Attn: SBA/Bankruptcy
                     801 Tom Martin Dr. #120
                     Birmingham, AL 35211


                     Sprint
                     Attn: Bankruptcy
                     PO Box 629023
                     El Dorado Hills, CA 95762


                     United Healthcare Insurance
                     185 Asylum Street - 03B
                     Hartford, CT 06103


                     Wells Fargo
                     Attn: Bankruptcy
                     PO Box 29482
                     Phoenix, AZ 85038
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                                           EXHIBIT A
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INVOICE                                                                                  AP Law Group, PLC
Invoice# INV-000327
                                                                                          7777 Leesburg Pike
                                                                                                   Suite 402N
Balance Due
                                                                                  Falls Church Virginia 22043
$4,536.02                                                                                                U.S.A



Invoice Date :                    12/12/2018

Terms :                           Custom
                                                                     Bill To
Due Date :                        01/16/2019                         David Sheppard



  #    Task & Description                                             Hours       Rate             Amount

  1    Iinitial Client Meeting                                          0.75    250.00                187.50


  2    4/5/18 office visit - DS                                         0.33    250.00                 82.50


  3    Preparing Chapter 11 Petition                                    0.47    250.00                117.50


  4    Drafting corporate resolution for BK                             0.17    250.00                 42.50


  5    Drafting Suggestion of BK                                        0.33    250.00                 82.50


  6    Preparing Chapter 11 Petition                                    0.57    250.00                142.50


  7    4/6 Office Visit - DS                                            0.48    250.00                120.00


  8    Preparing Chapter 11 Petition                                    0.52    250.00                130.00


  9    Preparing Chapter 11 Petition                                    0.12    250.00                 30.00


  10   Preparing Chapter 11 Petition                                    0.48    250.00                120.00


  11   Preparing Chapter 11 Petition                                    0.30    250.00                 75.00


  12   Preparing Chapter 11 Petition                                    0.33    250.00                 82.50


  13   4/18/18 Office Visit / Preparing Petition                        0.33    250.00                 82.50


  14   Office visit 4/20/18 - finishing petition                        1.20    250.00                300.00


  15   Forwarding documents to Trustee for IDI                          0.32    250.00                 80.00


  16   4/24 Initial Debtor Interview - Preparing documents and          2.00    250.00                500.00
       attendance


  17   4/27/18 - Filing 11 USC 1116(1)(a) documents with Court          0.42    250.00                105.00



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#    Task & Description                                          Hours       Rate          Amount

18   5/2/18 - App to Employ Counsel                                0.42    250.00            105.00


19   Contacting PNC bank and faxing BK notice                      0.17    250.00             42.50


20   Preparing docs for 341                                        0.47      0.00                 0.00


21   Preparing docs for 341                                        0.23      0.00                 0.00


22   341 meeting of creditors                                      2.25    250.00            562.50


23   Motion to Approve Sale of Vehicle                             0.15    250.00             37.50


24   App to Employ CPA                                             0.18    250.00             45.00


25   DS office visit for BK amendments                             1.90    250.00            475.00


26   Motion to Approve Sale of Vehicle                             0.28    250.00             70.00


27   Review/file MOR                                               1.10    250.00            275.00


28   Motion to Approve Sale of Vehicle                             0.38    250.00             95.00


29   App to Employ CPA                                             0.27    250.00             67.50


30   App to Employ CFA                                             0.17    250.00             42.50


31   App to Employ CPA                                             0.08    250.00             20.00


32   App to Employ CFA                                             0.13    250.00             32.50


33   Amending Petition                                             0.95    250.00            237.50


34   Consent Order for Ad. Protection Payments (Ford)              0.50    250.00            125.00


35   Settlement negotiation with Remax                             0.08    250.00             20.00


36   Preparing/forwarding requested information to Mr. Pika        0.83    250.00            207.50


37   Jonathan Gelber (Remax) phone call                            0.08    250.00             20.00


38   DS Phone Call                                                 0.10    250.00             25.00


39   Adjourned 341 meeting                                         1.75    250.00            437.50


40   Prelim Offer of Settlement (Remax)                            0.17    250.00             42.50


41   Consent Order for Ad. Protection Payments (Ford)              0.25    250.00             62.50


42   Reviewing/forwarding memos to Trustee                         0.25    250.00             62.50




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#    Task & Description                                             Hours    Rate         Amount

43   App to Employ CFA                                               0.58   250.00          145.00


44   Preparing for Motion to Authorize Sale hearing                  0.33   250.00           82.50


45   Motion to Authorize Sale hearing                                1.00   250.00          250.00


46   Adjourned 341 meeting                                           1.67   250.00          417.50


47   Drafting/submitting order on motion                             0.42   250.00          105.00


48   Review/file MOR                                                 0.67   250.00          167.50


49   App to Employ CFA                                               0.17   250.00           42.50


50   Drafting/submitting order on motion                             0.17   250.00           42.50


51   Contacting Gelber & Asocc re: PNC account release               0.33     0.00               0.00


52   Orders on App to Employ Counsel/CPA                             0.33     0.00               0.00


53   Uploading docs to client file                                   0.08     0.00               0.00


54   Orders on App to Employ Counsel/CPA                             0.17     0.00               0.00


55   DS Phone Call                                                   0.08   250.00           20.00


56   Draft Remax Settlement Offer                                    0.50   250.00          125.00


57   Review/file MOR                                                 0.67   250.00          167.50


58   Draft Remax Settlement Offer                                    0.33   250.00           82.50


59   Review Answers to Trustee Questions re: July MOR and forward    0.17   250.00           42.50


60   Drafting Plan of Reorganization                                 0.50   250.00          125.00


61   Draft Remax Settlement Offer                                    0.33   250.00           82.50


62   Emails with Ford and DS re: missed August payment               0.25   250.00           62.50


63   DS Phone Call                                                   0.08   250.00           20.00


64   Reviewing/filing July 2018 MOR                                  0.75   250.00          187.50


65   Draft Remax Settlement Offer                                    0.25   250.00           62.50


66   Drafting Plan of Reorganization                                 0.42   250.00          105.00


67   Reviewing/forwarding debtor responses to Trustee inquiry        0.08   250.00           20.00




                                                                                                        3
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#    Task & Description                                        Hours       Rate         Amount

68   DS Phone Call                                               0.08    250.00            20.00


69   Jonathan Gelber (Remax) phone call                          0.25    250.00            62.50


70   DS Phone Call                                               0.08    250.00            20.00


71   Review/file MOR                                             0.65    250.00           162.50


72   DS office meeting - remax settlement discussions            0.73      0.00                0.00


73   Email Response to Trustee re: August MOR                    0.17    250.00            42.50


74   Email Response to Trustee re: August MOR                    0.13    250.00            32.50


75   Review/file MOR                                             0.42    250.00           105.00


76   Drafting Plan of Reorganization                             0.55    250.00           137.50


77   Drafting Plan of Reorganization                             0.47    250.00           117.50


78   Drafting Disclosure Statement                               0.43    250.00           107.50


79   Drafting Disclosure Statement                               0.32    250.00            80.00


80   Drafting Plan of Reorganization                             0.98    250.00           245.00


81   Drafting Plan of Reorganization                             1.05    250.00           262.50


82   Drafting Disclosure Statement                               0.08    250.00            20.00


83   Drafting Disclosure Statement                               0.45    250.00           112.50


84   Review/file MOR                                             0.38    250.00            95.00


85   Drafting Disclosure Statement                               0.77    250.00           192.50


86   Drafting Disclosure Statement                               0.65    250.00           162.50


87   Drafting Disclosure Statement                               0.92    250.00           230.00


88   Drafting Plan of Reorganization                             1.08    250.00           270.00



#    Item & Description                                          Qty       Rate         Amount

89   BK filing fee                                               1.00   1,717.00         1,717.00


90   Postage                                                     1.00     65.52            65.52
     Motion to Approve Sale:
     Printing Costs: 324 X .15 = 48.60
     Postage Costs: 36 at the 1oz rate = 16.92


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  #     Item & Description                                        Qty        Rate          Amount

  91    Postage                                                   1.00       31.00             31.00
        Amended Creditor Schedule (added creditors)

                                                                 Sub Total                12,036.02

                                                                 Discount                (-) 7,500.00


                                                                    Total                 $4,536.02


                                                              Balance Due                 $4,536.02




Notes
Thank you!


Payment Options




                                                                                                        5
